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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-1825V
                                         UNPUBLISHED


    MELISSA FISCHER,                                           Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: January 26, 2022

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                            Stipulation on Damages; Tetanus-
                                                               Diphtheria-Acellular Pertussis
                        Respondent.                            (Tdap); Shoulder Injury Related to
                                                               Vaccine Administration (SIRVA);
                                                               Axillary Nerve Injury; Brachial
                                                               Neuritis.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION1

        On November 27, 2019, Melissa Fischer filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) within the Table time frame; an axillary nerve inury; and brachial
neuritis causally related to her receipt of the tetanus-diphtheria-acellular pertussis
(“Tdap”) vaccine on January 29, 2018. Petition at 1.




1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On January 25, 2022, the parties filed the attached joint stipulation, which states
that a decision should be entered awarding compensation. ECF No. 31. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $59,290.76 in the form of a check payable to Petitioner.
                This amount represents compensation for all items of damages that
                would be available under Section 15(a). Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of the Court is directed
to enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


                                                 )
 MELISSA FISCHER,
                                                 )
                                                 )
                Petitioner,
                                                 )    No. l 9- l 825V
 V.
                                                 )    Chief Special Master Corcoran
 SECRETARY OF HEALTH AND HUMAN ~
                                                      ECF
 SERVICES,                     )

______________  Respondent.                      ))


                                         STIPULATION

       The parties hereby stipulate to the following matters:

        l. Melissa Fischer, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to -34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the tetanus-diphtheria-acellular pettussis ("Tdap") vaccine, which vaccine is contained in the

Vaccine Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

       2. Petitioner received the Tdap vaccination in her left arm on January 29, 2018.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine

Administration ("SIRVA") as a result ofreceiving the Tdap vaccine within the Table time frame,

an axillary nerve injury, and brachia! neuritis, and that she experienced residual effects of these

injuries for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.
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        6. Respondent denies that petitioner sustained a SIRVA, as defined in the Table; denies

that the vaccine caused petitioner's alleged shoulder injury, or any other injury including an

axillary nerve injury or brachia! neuritis; and denies that her current condition is a sequelae of a

vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue a

lump sum of$59,290.76 in the form of a check payable to petitioner. This amount represents

compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l (a)( l ), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        l 0. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U .S .C. § 300aa- l 5(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



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        11. Payment made pursuant to paragraph 8 of this Stipulation, and any amounts awarded

pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C. § 300aa-

15(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attomeys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner, as contemplated by a

strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C.

§§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Comt of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa 10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the Tdap vaccination administered on or about January 29, 2018,

as alleged by petitioner in a petition for vaccine compensation filed on November 27,2019, in

the United States Court of Federal Claims as petition No. l 9-l 825V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Cou1t on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the tetms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete confotmity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the patt of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the Tdap vaccine caused petitioner to suffer a

shoulder injury, an axillary nerve injury, brachia) neuritis, or her current disabilities, or any other

injury or condition, or that petitioner sustained an injury contained in the Vaccine Injury Table.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,


 PETITIONER:




 ATTORNEY OF RECORD FOR                        AUTHORIZED REPRSENTA TIVE
 PETITIONER:                                   OF THE ATTORNEY GENERAL:




 Jeffrey S. Pop & Associates
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 Beverly Hills, CA 90212-3429                  Civil Division
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                                               P.O. Box 146
                                               Benjamin Franklin Station
                                               Washington, DC 20044-0146



 AUTHORIZED REPRESENTATIVE                     ATTORNEY OF RECORD FOR
 OF THE SECRETARY OF HEALTH                    RESPONDENT:
 AND HUMAN SERVICES:



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TAMARA OVERBY
                                      u~
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 Dated: Ol J-z..s/-zoz,.'Z..

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